             Case 2:05-cr-00090-MCE Document 131 Filed 11/15/06 Page 1 of 2


 1   Shari Rusk
     Attorney at Law
 2   Bar # 170313
     1710 Broadway, # 111
 3   Sacramento, California 95818
     Telephone (916) 804-8656
 4
   Attorney for Defendant
 5 ROBERT OSBORN
 6
 7
 8
                          UNITED STATES DISTRICT COURT
 9
                         EASTERN DISTRICT OF CALIFORNIA
10
                                       --o0o--
11 UNITED STATES OF AMERICA,
                                             No. CR-05-090 WBS
12                    Plaintiff,
                                             ORDER
13
         vs.
14   ROBERT OSBORN,
15                Defendant.
     _________________________/
16
                 ROBERT OSBORN appeared before this Court on Friday,
17
     October 13, 2006 at 2:00 p.m., requesting an order that Pre-trial
18
     Services release his positive urine samples to a certified
19
     laboratory for re-testing by the defense.          Mr. Osborn has a due
20
     process right to contest the positive finding for possession of
21
     narcotics based on his urine analysis.
22
     /////
23
     /////
24
     /////
25
     /////
26
     /////
27
28                                                                             1
          Case 2:05-cr-00090-MCE Document 131 Filed 11/15/06 Page 2 of 2


 1             The government did not oppose this request.         Therefore,
 2   the Court orders that Pre-trial services release the positive
 3   urine samples of Mr. Osborn’s to a certified laboratory.
 4             It is so ordered.
 5   Dated: November 14, 2006.
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                                          22
